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EXhibit A

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Opinion on the Re|ationship between Ovarian Cancer and Cosmetic Ta|c Powder Use:
Causa|ity and Re|evance to the Case of l\/|s. Deane Berg

Civil Action Number 4.'09-CV-04179-KES

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introduction

The following is my review of the epidemiologic data regarding the association between
use of cosmetic talc powders in the genital area and ovarian cancer with regard to the
likelihood that this is cause-and-effect. l will also comment on the possible relevance of
talc use to the occurrence of ovarian cancer in the specinc case of Ms. Deane Berg who
has indicated that she used talc on a daily basis as a dusting powder to her genital area
for more than 30 years. | have divided this report into the following sections: Historical
Material, Epidemio|ogic Studies, l\/leta-Analyses, Causality, Agency Opinions, and
Relevance of Talc in the Berg Case. l reserve the right to update this report based on
new epidemiologic data or material to be revealed at deposition or discovery.

Historica| Materia|

There are a number of studies done prior to 1980 which are important because -they
provided the foundation for the hypothesis linking talc and ovarian cancer. A study by
the Grahams in 1967 [1] highlighted the similarity of ovarian cancer and mesothelioma (a
type of cancer caused by asbestos), showed that (intraperitonea|) injection of asbestos
into the abdominal cavity of rabbits and guinea pigs induced epithe|ial changes (papi|lary
proliferation) in surface ovarian cells similar to those they had observed in women with
early ovarian cancer, and found clusters (foci) of inflammatory cells (histiocytes) with
birefringent crystals in 6 of 12 ovaries from women with borderline or invasive ovarian
cancer but none in 9 normal ovaries. ln this report, the Grahams cited a case series
describing abdominal neop|asms and ovarian cancer i_n women with asbestosis of the
lung [2]. A subsequent occupational study connrmed a greater risk for ovarian cancer in
women with exposure to asbestos [3]. Concluding notable studies done prior to 1970,
Crai|ey et al [4] described variable amounts of asbestos contamination of cosmetic talc
powders as weil as trace metals such as nickel and chromium_t"rndings connrmed in a
subsequent report by Rohl [5].

The first study to suggest a possible link between ovarian cancer and talc was a report
by Henderson et al. in Cardiff, Wales describing talc particles “deeply embedded” in 10
of 13 ovarian tumors, 12 of 21 cervical tumors, one primary carcinoma of the
endometrium, and 5 of 12 “normal” ovaries from women with breast cancer [6]. Although
the authors of this report acknowledged limitations of their study, the article generated
commentaries and debate that would be chronicled in the well-known British Journa|,
Lancet, during the late 1970’s.

ln 1977, the Lancet published an (anonymously-written) editorial [7] regarding talc which
reviewed data on inhaled talc and concluded that “it seems unlikely that future exposure
to cosmetic talc of the specitications now agreed to by major manufactures will present a
health hazar The Editoria| also stated that early skepticism about the Henderson
report was “well-founded” since there had been no confirmatory evidence provided in the
6 years since Henderson’s report. Following this editorial, a letter to Lancet was
published in 1979 from Henderson’s group [8] in which they cited additional studies (e.g.
[9] ) which had, in fact, been performed subsequent to the 1971 article and which they
said supported their contention that the particles found were taic.

Also in 1979, after the Henderson letter, a commentary on talc and ovarian cancer [10]
appeared in Lancet`entitled “Cosmetic Talc and Ovarian Cancer.” This article was
authored by Daniel L. Longo who went on to become Director of the National institute of

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Aging and Robert C. Young who became President of Fox Chase Cancer Center. They
presented no new data but reviewed current evidence and concluded that:
“Epidemiologicai, experimental, and clinical data seem to link asbestos and talc with
ovarian cancer. Direct passage of talc or asbestos-contaminated talc to the ovarian
surface may play an aetiologic ro|e. Further systematic evaluation of talc and asbestos
as ovarian carcinogens is needed.” Lancet then published a letter responding to the
Longo and Young commentary from Francis J.V.C. Roe, a consultant to the Cosmetic,
Toiietry, and Periumery Association [11], who stated that further research on the bioiogic
effects of taic and signiticance of mineral particles in tissues “merits little priority.” Longo
and Young responded [12] that they found it disturbing that a consultant to the cosmetic
industry would take that stand.

Despite the debate and discussion about talc and ovarian cancer in the U.K. from 1970
to 1980, no formal epidemiologic study addressing the association was performed during
that period. The occupational epidemiologist, Nluriel Newhouse, published a case-
control study of ovarian cancer in 1977 [13] but did not mention the association in the
paper. Newhouse also wrote a letter to Lancet [14] that was critical of Longo and Young
for failing to reconcile the talc and ovarian cancer hypothesis with other risk factors she
had observed in her study that increased ovarian cancer risk including fewer
pregnancies, less oral contraceptive use, and lower occurrence of childhood mumps. ,

Epidemiolcgic Data

lt would not be feasible (and obviously not ethical since we envision a potentially harmfu!
effect) to construct a study involving randomization of women to long term talc use or no
use and follow them for decades to determine who got ovarian cancer. Thus human
data to support an association between talc and ovarian cancer must come from
epidemiologic studies of two types-case-control or cohort studies. |n a case-control
study, case women with ovarian cancer are queried about talc use (before they
developed ovarian cancer) and, similarly, controls without ovarian cancer are questioned
about their talc use. inferences about a relationship between talc use and ovarian
cancer are derived by comparing the odds or likelihood that cases were exposed or not
exposed to talc compared to the odds that controls were exposed or not exposed in a
cohort study, women who do not have ovarian cancer are identified and each
characterized by whether she is or is not being exposed to talc through personal habits
or occupation The cohort is followed over time to determine how frequently ovarian
cancer occurred in the exposed compared to the non-exposed group. lf relatively more
cases than controls reported exposure to talc in a case-control study or relatively more
women exposed to talc in a cohort study developed ovarian cancer compared to non-
exposed, then these observations would suggest talc use may be associated with
greater risk for ovarian cancer.

The measure used to characterize risk is commonly called the odds ratio (OR) in a case-
control study or relative risk (RR) in cohort study, although RR is frequently used in
place of OR. An OR or RR greater than 1 (the “null" value indicating no association)
indicates the exposure may increase risk for disease. The greater the deviation from 1,
the stronger the association is considered Statistical tests (yie|ding a “p value”) are
performed to determine whether chance may explain the deviation from 1_ P values less
than 5% are considered significant and iess likely to be due to chance. A` 95%
confidence interval is constructed around the OR (or RR) estimate in which we expect
the true measure of the association to lie based upon sampling statistics. A lower

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confidence limit above 1 indicates that the exposure signihcantly increases risk, while an
upper confidence bound less than 1 indicates that the exposure signihcantly decreases
risk. ORs or RRs are described as “adjustéd” if factors (possible confounders) that are
thought may influence risk for disease or likelihood of exposure are taken into
consideration and “”crude if they are not.

The first epidemiologic study performed on cosmetic talc powder use in the genital area
and ovarian cancer Was a case-control study performed by me and colleagues [15]. ln
this study, 215 women with epithelial ovarian cancer and 215 age matched controls
selected from the general population were questioned about their talc use (prior to
developing ovarian cancer in cases). 42.8% of cases reported regular use of talc
powders either as a body dusting powder to the perineum or use on underwear or
sanitary napkins compared to 28.4% of controls. This translated into a significant OR
(and 95% confidence limits) of 1.92 (1.27, 2.89) for ovarian cancer associated with talc
use. The association was significant after adjustment for parity and menopausal status.
After this publication, l was contacted by Dr. Bruce Semple of Johnson and Johnson and
we met in Boston in late 1982 or early 1983. My recollection of this meeting Was that Dr.
Semple spent his time trying to convince me that talc use was a harmless habit, while l
spent my time trying to persuade him to consider the possibility that my study could be
correct and that women should be advised of this potential risk of talc. l don’t recall
further meetings or communications with him;

Since 7/1982 when my paper was published through 12/2010, l am aware of 21
additional papers which have provided epidemiologic data addressing the talc and
ovarian cancer association [16-36] (Attachment 1), These include 19 case-control
studies, 1 cohort study [32], and 1 study combining case-controt and cohort data [34].
Nearly all of these studies have reported an elevated risk for ovarian cancer associated
with genital talc use and the majority statistically significant elevations.

Meta-Analyses

lVleta-analysis is a statistical technique that allows similar measures of the same illness
and exposure (or treatment and effect) from different studies to be combined so that a
more powerful test can be performed about whether there is an association A meta-
analysis also provides a summary odds ratio or relative risk that is a more precise
estimate of the overall effect (i.e. smaller 95% confidence interval). The investigator also
does a “test for heterogeneity” (also called a test for homogeneity) in which s/he seeks to
determine whether the odds ratios differ to such a degree that it suggests the studies
may not have been conducted similarly.

l am aware of five mata-analyses which have been performed on the topic of talc and
ovarian cancer. All live of these, including two which were industry-sponsored found a
significant positive association between the use of talc and ovarian cancer. The first
meta- analyses was conducted by Harlow and Cramer from our second study of ovarian
cancer [20] which included the odds ratio from a new series of 235 cases with ovarian
cancer and 239 controls and 5 other published studies [15-19]. The summary OR (and
95% confidence interval) was 1.3 (1`1, 1.6) indicating a significant overall association.
The conclusion from this study was that “a lifetime pattern of talc use may increase the
risk for epithelial ovarian cancer but is unlikely to be the etiology for the majority of
epithelial ovarian cancers." The sponsor of this study was the National Cancer lnstitute.

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The second mata-analysis was conducted by Gross and Berg [37] and was published in
1995 and included data from 9 separate papers [15-23]. This mata-analysis yielded a
summary odds ratio (based upon the crude measures) of 1.27 (1.09, 1.48)-again
statistically significant No significant heterogeneity was observed Gross and Berg
concluded that the data regarding the association With talc and ovarian cancer was
“equivocai." This study is acknowledged as supported in part by Johnson and Johnsoh.

The third mata-analysis was performed as part of my 1999 paper [29] on talc and
ovarian cancer. lt included all of the studies in the Gross and Berg paper {37] plus four
new studies [24-27] as well as the OR based upon a new series of 563 cases with
ovarian cancer and 523 controls from li/lassachusetts and New l-iampshire. The
summary odds estimate was 1.39' (1.24, 1.49), again statistically significant The
conclusion of this study Was that We found a significant association between use of talc
in genital hygiene and risk of ovarian cancer that, “when viewed in perspective of
published data on this association, warrants more formal public health warnings." This
paper was supported by a grant from the National Cancer lnstitute.

The fourth mata-analysis was performed by Huncharek, Geschwind, and Kupelnick [38]
in 2003 and included all of the studies examined in my mata-analysis except for a study
by Hartge [16] and one by Shushan [25]. Data from 5 new studies [28~32] were also
included giving a total of 16. The summary odds ratio from this meta-anaiysis was 1.33
(1.16 -1.45)_0nce again significant However, Huncharek et al. concluded that the
available observationa| data “do not support the existence of a causal relationship”
between talc use and an increased risk of epithelial ovarian cancer. in the
Acknowiedgements, it is stated that partial support for the work was provided by the
l\/larshfield l\/ledicai Research Foundation. A subsequent paper in 2007 related to talc
and authored by Huncharek and Kupelnlck cites support from Johnson and Johnson and
Luzenac America [39].

The fifth meta-analysis was performed in connection with the review conducted by the
international Agericy for Research on Cancer regarding talc use and ovarian cancer [40]
and included prior epidemiologic studies and additional data from a study of benign
ovarian tumors [41]. The estimated summary OR differed little from that of the
Huncharek meta-analysis, but the authors concluded the evidence was sufEcient to
indicate cosmetic talc is a “possible carcinogen.”

A few minor issues can be raised related to the odds ratios chosen to represent genital
”use in several of these meta-analyses. The OR for the association in the Rosenblatt
study [21] was taken as 0.84 (0.27, 2.63) based upon any “genital fiber use” which
included possible (but not certain exposure) from prior pelvic surgery, use of a
diaphragm or condoms, as well as powdering the genital area after bathing or showering
or use on sanitary napkins-the latter two dennitions being used in most studies. The
crude odds ratio for more certain genital exposure from powdering after bathing or use
on sanitary napkins is 1.7 (0.7, 3.9) (see Table 3 in Rosenblatt paper). The odds ratio
for the Hartge study [16] is listed as 0.7 (0.4, 1.1) based upon “any taic” Which included
use of talc in non-genital areas. The odds ratio for use in the genital area was 2.5 (0.7,
10.0) (see Table in letter). Finally, in the Wong et al. study [30], the odds ratio of 1.0
(0.8, 1.3) Was selected to represent genital talc use whereas this was only one of several
categories related to genital exposure (see Table 2). A more appropriate odds ratio for
ever vs. never genital exposure in the study by Wong et al would be 1.13 (0.89, 1.43).

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These changes would have little impact on the summary OR estimates or levels of
significance in the meta-anaiyses.

Since Huncharek's mata-analysis in 2003 [38], there have been 4 additional
epidemiologic studies (with original data in 3) related to talc and ovarian cancer. All
found a positive association [30-36] Thus, if we construct a' new meta-analysis based on
ever vs. never genital exposure using the appropriate odds ratios for Rosenblatt, Hartge,
and Wong, the summary OR (and 95% limits) is 1`33 (1.24, 1.43) using a random effects
model or 1.32 (1.23, 1.41) from a erd effects model, The “z value” associated with this
is 7.6 in the random effects model and 7.9 from the fixed effect model. The associated p
value reflecting the likelihood that this odds ratio is significantly different from 1 is about
10"4. No significant heterogeneity is noted between the study estimates (p=0.36),
although it has been pointed out that ORs from hospital-based studies might be lower
than population-based studies [38, 40]. .

Figure 1. lVleta-analysis of genital talc and ovarian cancer studies (random effects mode|).

Cramer 1982
Hartge 1983
Whittemore 1988
i-iar|ow1989
Booth 1989
Rosenblatt 1992
Chen 1992
Harlow 1992
Tzonou 1993
Purdie 1995
Shushan 1996
Chang 1997
Cook 1997 -
Godard 1998 _
Cramer 1999 _
Wong 1999 - --Ej_i-
Gertig 2000 _ _
Ness 2000 _
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Merritt 2008 _ 5
Wu 2009 _

 

 

 

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Odds ratio

The talc and ovarian cancer association-cause and effect?

Cleariy, only if there is reasonable likelihood that the association between talc use and
ovarian cancer found in epidemiologic studies is causal, can a connection between talc
use and ovarian cancer in |Vis. Berg’s case be argued. The well-known British
statistician Sir Austin Bradford Hiil is credited with establishing the criteria that
epidemiologists often use in judging whether an association is likely to be causai. Hiil
originally listed 9 criteria Which have been restated over the years, but, in one form or
another, are considered when regulatory or legal issues arise in connection with an
epidemiologic association. in a paper entitled “Causation and Disease: Biomedical
Science iri Toxic Tort Litigation,” l\/luscat and Huncharek list 8 criteria [42]. in connection
with a meeting on the carcinogenicity of talc held in 2000 by the National Toxicoiogy
Program, epidemiologists Rothman, Pastides, and Samat (Attachment 2) mention 8
issues and discussed 5 in detail while another epidemiologist, Samuel Shapiro cited 11

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criteria that should be addressed. The latter two critiques focused heavily on a
consideration of errors of study design and analysis, which were not part of Hiil’s original
criteria. i consider the following criteria most important: statistical significancel reverse
causality, consistency, effect of removing the causal agent, bias and confounding,
strength of the association, dose-response, and biologic credibility

1. Statistical significance of the association Could chance have accounted for the
observations? The lower conndence bound of the summary odds ratios from each of the
mata-analyses conducted exceed the value of 1 (the indicator of no association) and
thus indicate a statistically signincant association in the critique by Rothman et ai., they
state “We omit discussion of the role of chance in explaining any of the Hndings,
because the combined weight of the 17 studies in (their) Figure 1 indicates that chance
alone is an unlikely explanation for the overall weighted average of reiative risks from the
studies of 1.31.” Chance is an unlikely explanation indeed-about 1 in a trillion based
upon our most recent meta-analysis.

2. That exposure precedes the disease is an obvious requirement However, in a case-
control study where subjects are interviewed about exposures after their disease is
diagnosed, it is conceivable that cases may cite exposures that began because of
symptoms or treatment of their illness thus producing “reverse causality.” However,
epidemiologists who conduct case-control studies are well aware of this pitfall, do not
count exposures begun after the illness was diagnosed, and generally censor exposures
for some time period prior to disease diagnosis (1 year in studies l have done). l believe
it`very unlikely that talc use begun 20 years prior to the diagnosis of ovarian cancer\
occurred because of symptoms of latent disease. Rothman et al. comment “we do not
think it (reverse causation) is a realistic explanation for the observed effect.” This is my
opinion as well.

3. Consistency. Consistency is a characteristic of associations repeatedly found by
different investigators in different populations or studies of different designs. The talc
association has been found in geographically and ethnica|ly diverse populations from
United States, Canada, England, China, and Austra|ia, in hospital-based and population-
based case-controls studies, and in a cohort study. The mata-analyses have yielded
similar and consistent evidence for an association without significant heterogeneity over
all studies. in my opinion, the criterion for consistency is met.

4. Remova| of the agent results in a reduction of disease frequency. in diseases caused
by infection, showing that treatment of the infection or protection by vaccination cured or
prevented the disease would satisfy this criterion in chronic disease epidemiology, this
criterion might be addressed by showing a correlation between calendar year and.
disease occurrence for an exposure relatively limited in time. Apparent|y there has been
some decline in domestic production of cosmetic talc since 1980 [43]. However, it would
be a difficult epidemiologic task to relate this to changes in ovarian cancer rates
because: it is not known what the latency for talc use to lead to ovarian cancer might be;
other temporal changes have occurred such as increasing use of birth control pills and
declining fertiiity, and even changes in national statistics (the National Cancer institute
stopped counting borderline tumors as ovarian cancers around 2005.) lt has also been
suggested that the mid-1970’s represented a watershed time period after which possible
asbestos contamination of talc was eliminated by self-monitoring within the cosmetics
industry. Some epidemiologic studies have attempted to distinguish the effect of talc
use before or after this period, but no consistent change in odds ratios based on a cutoff

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around this'time has been demonstrated [20, 27, 33, 36]. in my opinion, this criterion
cannot be invoked either to confirm or refute a causal association

5. The association is unlikely to be due to systematic errors in study design and analysis
The particular errors l will discuss are misc|assitication, recall bias, selection bias, and
confounding. l\/iisclassification means that subjects have been misc|assified by disease
status or, more iikely, by exposure status For any epidemiologic study, it is necessary
to identify “exposed” and “non-exposed” so the questions used to define those states are
critical. ln the case of smoking, a commonly used question to assess exposure is: “Have
you smoked more than 100 cigarettes during your |ifetime?” However, there is no
agreement on the standard language that should be used to assess genital talc
exposure. Thus the question “did you ever use cosmetic powder containing talc?” may
yield a different answer than “did you regularly use cosmetic powders containing talc in
your genital area?” that, in turn, may differ from the response to an even more specific
question “did you regularly apply cosmetic or baby powders containing talc to your
genital or rectal area after bathing or showering or use powder to dust underwear or
sanitary napkins?” Because of this lack of standardization there is the potential for
misc|assitication from study to study. Random misclassification would move the
association towards the null value of 1 and,could not account for a positive association
observed in studies if anything, random (or non-differentia|) misclassification would
have led to an underestimate of the effect. A bias of greater concern in case-control
studies is differential misclassification. if cases are more likely to admit to or remember
exposures more readily than controls, then recall bias might occur and’the odds ratio
could be falsely elevated. l think it is unlikely a woman would be embarrassed to reveal
she had used talc; and, while short term use might be more readily recalled by cases
than contro|s, l believe long term talc use (more than 10 years) would not be forgotten by
either cases or controls. Finally, if there were recall bias, it might be anticipated that
ORs for studies done more recently would drift higher with cases having had more
opportunity to have heard about the association, The ORs in Figure 1 (organized by
calendar year of the study) do not reveal any drift higher in more recent studies

in a case-control study, it is usually not possible to study all cases (and certainly not ali
controls) in either a population or hospital-based study, Thus, there is the possibility that
cases or controls could be selected whose exposure histories do riot represent those of
the broader populations we Wish the sampled subjects to represent. in their review,
Rothman et al thought selection bias was a “iess important” issue and omitted it from
their discussion Selection bias (as well as reverse causality and recall bias) are less
likely to occur in cohort studies Notably, the cohort study of talc and ovarian cancer
from the Nurses’ Health Study observed a significant association with invasive serous
cancer [32].

Confounding is an issue that can affect either case-control or cohort studies and occurs
when some factor associated both with the illness and the exposure has not been
considered and corrected for in the design of the study or analysis of the data. l\/lost of
the talc studies have adjusted for age and known risk factors for ovarian cancer, such as
parity or oral contraceptive use, even though reproductive factors are not known to be
associated with talc use. A 1998 paper by Rosenblatt identified body mass index (BlVll),
smoking, and alcohol use as potential correlates of talc use in the general population
[44]. Weight or BlVii was adjusted for in several of the studies with the ORs remaining
significant [20, 29, 34]. Aithough | don’t believe any studies have adjusted for smoking
and alcohol use, my opinion is there is no reason to link these exposures to risk for

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ovarian cancer except possibly for mucinous ovarian cancers [45], for which the
association with talc use is less apparent (see point 6). Also, if characteristics of powder
users rather than powder use itself increases risk for ovarian cancer, then it would be
anticipated that women who used cornstarch based powders would also be at increased
risk, which does not appear to be the case from a study which looked at cornstarch
powder use in the talc studies that had examined this [46]

lilly conclusion regarding bias and confounding is that these could not have produced a
totally spurious effect over all of the studies

6. The association is strong. A summary odds ratio of 1 .33 (1.23, 1.44) indicates that we
expect the risk for ali types of epithelial ovarian cancer to be raised by an average of
33% (or somewhere between 23 to 44%) by ever use of talc in genital hygiene. A OR of
2 is sometimes set as a benchmark as the minimum for associations likely to be causal
[42]. l would challenge the argument that risks less than 2 can’t be causal and also point
out that an overall summary risk less than 2 does not rule out a stronger association for
certain types of ovarian cancer, certain categories of exposure, or for women with
certain characteristics The question of whether an association <2 can be causalis, l
believe, addressed by recent genome wide association studies (GWAS) which test
hundreds of thousand genetic variants~calied single nucleotide poiymorphic variants
(SNPs) in cases and controls GWAS studies have revealed gene poiymorphic variants
that individuals are born with that may increase the risk for various cancers including
ovarian cancer. As opposed to relatively rare mutations of the BRCA1 and BRCA2
genes which may increase risk for ovarian cancer some 30 to 40 fold (3000 to 4000%),
cancer-associated SNPs occur with higher frequency but may change the risk for cancer
only 15% to 20%. Thus, SNPs rs8170 and rs2363956 on chromosome 19 have been
associated with ORs of 1.16 and 1.18 for serous ovarian cancer, respectiveiy, and are
almost certain to be real based on three phases of evaluation in over 5,900 cases and
13,000 controls and p values of 10'g and 10'", respectively [47]. Compared to these
GWAS findings l point out that the summary OR for the talc/ovarian cancer association
and its p value are “stronger” and more significant

Also important in the interpretation of the 1.33 overall association between talc and
ovarian cancer is whether the strength of the association may differ for certain types of
ovarian tumors or in subjects with certain characteristics or different degrees of
exposure. Studies which looked at the association by histologic type of ovarian cancer
have found the talc association is weaker in women with mucinous ovarian tumors
(especially “borderline malignant” types) and stronger in non-mucinous invasive ovarian
cancer. l reviewed the studies in my meta~analysis to find the percent of non-mucinous
invasive tumors in each. When the proportion of histologic types was given but was a
mixture of borderline and invasive cases, l applied the appropriate proportions from our
own case-control data where 78% of all serous types were invasive and 95% of ali non~
serous and non-mucinous cases were invasive and estimated the study specific
proportion of non-mucinous invasive cases Overall there was a non-significant (p=0.31)
positive correlation between the percent of non-mucinous invasive tumors and the OR
estimate such that studies with a greater estimated percentage of non-mucinous
invasive tumors had higher ORs (Figure 2). The studies marked with asterisks in the
hgure below are the 4 studies [25, 28, 29, 33] in which the percent of non-mucinous
invasive tumors was explicitly stated in the text. The correlation in this small set was
r=0.94, p=0.06.

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Figure 2. Genital talc risk ratios reported in studies by proportion of non-mucinous invasive cases

 

 

 

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Proportion of non-m ucinous invasive cases

 

 

 

Not only characteristics of the tumors but also characteristics of the subjects should be
examined for their effects on OR estimates Thus one recent study has suggested that
genetic determinants such as those influencing the body’s reaction to inflammation may
also affect the talc association [34]. Age is an even more basic factor that may influence
overall estimates While most studies have adjusted for age, it may be necessary to
actually show the association in various age categories to determine if the association is
greater in one age group compared to another. Finaliy the association may be stronger
for women with a higher level of exposure. l will return to both of these issues
interaction with age and strength of the association with greater exposure, in point 7.

in concluding my discussion of strength of the association as a criterion l restate the fact
that GWAS studies reveal that SNPs that predispose to disease risk are usually
associated with risk measures less than 2 but are likely to be causal. Thus, in my
opinion, there is no scientific basis for setting a minimum bar for defining a causal
association l have also pointed out that an overall summary risk less than 2 does not
rule out a stronger association for certain types of ovarian cancer, certain categories of
exposure, or for women with certain other characteristics lt is my opinion an overall
association of 1.3 between talc use an ovarian cancer risk is “strong” enough to be
causal, especially if the final two points to be discussed-dose-response and biologic
credibility_are satisfied

7. There is a dose-response A dose-response (or biologic gradient) refers to a
consistent increase (or decrease in the case of a protective exposure) in risk
corresponding to levels of the exposure. l pointed out that whether there is an
association is addressed by a simple “yes” or “no” answer to a question about exposure
(see discussion of misclassification under point 5). Women who answer “yes” they used
talc should then be asked additional questions about frequency and duration of use. To
categorize dose-response as precisely as possible, one should combine both frequency
and duration together to yield application-years (or total lifetime applications) similar to

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what is done for smoking when a "pack-years” variable is calculated (i.e., number of
packs per day smoked x number of years smoked).

Apparent lack of dose-response as a key factor undermining a causal interpretation for
the ovarian cancer and talc association has been highlighted in industry-sponsored
research by Rothman et al. and Huncharek et al- [38]. in both of their reports, data was
included on years of talc use and number of talc applications per month. However, no
data was provided on a measure which combined both frequency and duration o_f use
(as would be needed for the equivalent of pack-years of smoking). A woman who used
talc daily for one year would have 365 applications compared to 2400 for a women using
talc 10 times a month for 20 years The level of exposure for these two cases might well
be reversed in separate tables related to duration and frequency of use. in two of our
papers [20, 29] we showed that adjusting the applications variable for whether the
genital tract was “open” (i.e. not counting use after a tubal ligation or hysterectomy and
looking at use during times when ovulation was occurring) yielded a statistically
significant dose-response .

in more recent papers [33-36], data is available for dose-response in all of them. Mi|ls
found a significant dose-response by frequency of use, duration of use, and estimated
applications [33]. Wu, looking at all types of body use, found a significant dose-
response with estimated applications [36]. i\/ierritt reported a significant trend in risk for
invasive serous ovarian cancer with years of talc use [35]. Gates et al. pooled data from
the Nurses’ Health Study and the two prior phases of our case-control study and found a
significant trend with frequency of talc use per month (the only “dose” data available in
the Nurses’ Health Study data) [34].

A consideration that affects dose-response is that it is difhcult to separate entirely
duration of use (or total applications) from age. A 25 year-oid_woman cannot have had
30 years of talc use; and 30'years of use is more likely for a 60 year-old than for a 40
year-old Thus, if there were differences in the strength of the association between
younger and older women, this could obscure a dose-response even if the trend statistic
were adjusted for age. To reveal this, it is necessary to show the association in the
younger and older age groups lt is known that breast cancer risk factors, like Bl\/ill may
differ by menopausal status Menopausal status may also affect the association for
some risk factors for ovarian cancer, including BlVll and coffee consumption [45, 48].
Aithough l adjusted for menopausal status in our first study, l never showed the
association separately for pre- and postmenopausal women nor has this been done in
any of the other 21 studies to date. in Attachment 3, using my own case-control data, |
looked at the overall association and dose-response in ali women and then for pre- and
postmenopausai Women separately for all types of ovarian cancer combined These
analyses were then repeated for non-mucinous invasive types of ovarian cancer and
serous invasive ovarian cancer. The overall association is stronger for non-mucinous
invasive cases and invasive serous cancer compared to ali types of ovarian cancer that
includes borderline malignancies. lnportantiy, for invasive serous cancers, there is a
sharpening of the dose-response curve for premenopausal compared to
postmenopausal women Because a genetic factor should be considered in the cause of
premenopausal ovarian cancer, l show as the nnal table in Attachment 3 an analysis for
serous invasive cancer excluding those with a family history of ovarian cancer or early
onset breast cancer or women with a Jewish ethnic background (Who have a higher
background rate 0fBRCA1/2 mutation). After these exclusions the OR (and 95% limits)
are 2.12 (1.16, 3.89) for premenopausal women with about 2000 to 8400 applications

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and 3.53 (1.63, 7.65) for women with greater than 8400 applications compared to
women with no genital talc exposure. This sharpening of the dose-response is
illustrated in Figure 3 below which was presented as part of a poster at the 2011 Annua|
lVieeting of the American Association of Cancer Research (Attachment 4). l believe this
demonstrates that the dose-response has been underestimated in all prior studies
(including my own) by the failure to take into consideration histologic subtype of ovarian
cancer, menopausal status and family history in a systematic fashion

 

Figure 3. Dose-response associations for talc applications bv histologic tvbe of ovarian cancer.
menopausal statusl and family histo;y.

 

 

 

 

All women Nnn mucinous invasive

Odds ratio
Odds ratio

   

 

 

 

 

   

All Prem¢mpausai Pi:istmeriapausai All Premuinpaugl Pnstmonopausai
p-trend-=GM p-trend=o.n$ ptrend»-G.ln p-m\nd=O.DDDS o-t!end=a.n§ p-trend=t).t].t
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Seraus invasive serous lnvasive, excluding jewish ar family history
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"»' Nevor §§ 660 l 350-1967 l 1968-8399 l 28400 4 Nevi:r .\~? <35\1 ll 550-1957 l 1965-8399 l ama

 

 

 

 

 

 

Concluding my remarks related to dose response, | point out that a measure combining
both frequency and duration of use needs to be considered Furthermore, heterogeneity
in the case mix of histologic types from study to study might weaken dose-response
Larger and more recent studies do reveal a significant dose-response Finally, my new
analysis reveals that the dose-response was likely further underestimated by the failure
to take into consideration menopausal status and family history. When this is done,
there is a strong dose-response in premenopausal women for invasive serous ovarian
cancer. in my opinion, the criterion fora dose-response is satisfied

8. Bio|ogic Credibi|ity. Bio|ogic credibility requires that we ask whether the association
makes biologic sense in terms of what is known about the biology of the cancer or the
exposure and whether animal or cell line experiments support an association in my
original paper [15], l cited four elements as the foundation for the biologic argument
linking talc and ovarian cancer: chemical relationship between talc and asbestos
asbestos as a cause of pleural and peritoneal mesotheliomas, the possible relationship
between ovarian cancer and mesothelioma, and the ability of talc to enter the pelvic
cavity in my paper. l acknowledged that the carcinogenicity of asbestos depends upon

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its fiber-like structure which is different from the plate-like structure of talc but stated that
it wasn’t clear whether the link between talc and ovarian cancer related to asbestos
contamination of talc powders or to the uniqueness of the ovary that might make it
susceptible to either asbestos or talc. Another element of the argument, the similarity
between ovarian cancer and mesothelioma, has been emphasized by the Grahams [1]
and the Johns Hopkins gynecoiogic pathologist and surgeon J. Donald Woodruff [49].
Regarding the evidence that talc used in the genital area can reach the ovary, l believe
that the most convincing studies were done in humans and demonstrated that carbon
(bone) black ink placed into the vagina prior to hysterectomy could be demonstrated
microscopically in washings from the tube or even seen with the naked eye in some
cases [50, 51]. Radiolabeled albumen microspheres placed in the vagina also reached
the Fallopian tubes in women [52]. i believe talc found “deeply embedded” in ovarian
tissue [6] cannot be attributed to artifacts of processing and speaks for itself regarding
the issue of transiocation. Aithough some studies of non-human primates have
attempted to address the issue of-translocation [53], [54], these studies cannot duplicate
the decades long exposure that women may have. in my opinion these studies do not
disprove talc can reach the upper genital tract and cause changes predisposing to
ovarian cancer. At least one cell culture experiment does show that talc is capable of
causing proliferative changes in ovarian cell cultures indicative of malignancy-an effect
that could be antagonized by an anti-inflammatory agent, suggesting a role for
inflammation and reactive oxygen species in the talc and ovarian cancer association
[55].

While l believe that the foundations for our original argument for biologic credibility for
the talc and ovarian cancer association remain intactl an emerging model for ovarian
cancer involving acute and chronic inflammation and immunity can also explain why talc
might cause ovarian cancer. After observing that fewer of our ovarian cancer cases had
a breast infection (mastitis) compared to controls [56] and finding a report describing
antibodies against a surface mucin protein called MUC1 following breast mastitis [57},
we hypothesized that MUC1 immunity could explain ovarian cancer risk factors We
tested this theory by measuring anti-lVlUC1 antibodies in controls from the second phase
of our case-control study, determining what events were associated with anti-lVlUC1
antibodies, and then looking at whether those events were risk factors for ovarian
cancer. Factors that elevated anti-i\/iUC1 antibody levels included mastitis, a tubai
ligation, and lUD use and these were factors that decreased ovarian cancer risk in our
study. Factors that raised ovarian cancer risk were those that lowered anti-lViUCl
antibodies and included talc use and an increasing number of ovulatory cycles not
interrupted by oral contraceptives,. pregnancies or breastfeeding [56, 58].

We then performed a prospective study in which We measured anti-NiUC1 antibodies in
specimens taken at least 3 years prior to diagnosis in ovarian cancer cases and
matched controls from the Nurses’ Health Study. This study confirmed findings that
tubai |igation raised antibody levels and a greater number of ovulatory cycles lowered
antibody levels [59]. Talc use also lowered antibodies but the finding was of borderline
significance |n this study, the presence of anti-lVlUC1 antibody levels at least three
years before diagnosis predicted a lower risk for ovarian cancer in women less than age
64. A protective effect of antibodies was not apparent in women older than 64. l
attributed this age-dichotomy to the combination of a general decline in immunity in
controls that occurs with aging (immunosenescence) and an apparent increase in
antibody levels in older cases which l believe reflects the fact that women with the-
lowest MUC1 immunity having their ovarian cancer diagnosed at a younger age. The

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possible link between immunity, lVlUC1, and talc use could now explain the difference in
dose-response between pre- and postmenopausai Women Ovarian cancer may occur
at a younger age in long-term talc users whose immunity has been most suppressed,
explaining why the dose-response is much stronger for pre- than postmenopausai
women Those “susceptibie" have already been depleted leaving fewer long term talc
users in the postmenopausai group. A similar epidemiologic phenomenon was
described as far back as 1938 to explain Why the associations between smoking, total
mortality, and coronary artery disease incidence are stronger in younger compared to
older men [60, 61]. '

Recalling the curious protective effect of mumps parotitis described by Newhouse [13], |
performed a study on blood specimens from people going through a mumps infection
and found that mumps also generates anti-l\/iUC1 antibodies [62]. Thus, my current
theory is that ovarian cancer occurs due to a relative absence in younger life of events
which led to beneficial MUC1 immunity, such as mumps, mastitis, or tubai ligation, and
an excess of chronic events, like ovulatory cycles, endometriosis, and talc use which
down regulated MUC1 immunity and led to immune tolerance of an emerging cancer.
Our case report showing that talc can be found in the lymph nodes of an ovarian cancer
patient who used talc suggests this could be an additional mechanism by which talc
might effect local immune processing {63j. Case reports describe talc in lymph node
and tissues of lV drug abusers who inject drugs cut with talc and link this With decreased
systemic immunity [64].

To conclude, l believe the following elements support biologic credibility of the talc and
ovarian cancer association '

1) Talc is a potent inflammatory agent that may lead to dysreguiation of immunity
related to mucins, especially lVlUC1, by chronic irritation of vaginal epitheiium
which, like surface cells of the endometrium or Fallopian tubes expresses MUC1
in response to environmental stressors.

2) As opposed to short term expression of an inflammatory form of MUC1 which
can lead to protective antibodies, chronic expression of the inflammatory form of
MUC1 leads to down regulation of MUC1 immunity and tolerance of an emerging
MUC1-expressing cancer (which ovarian cancer is).

3) By this mechanism, talc use fits with other events such as repeated ovulatory
cycles and endometriosis that increase ovarian cancer risk through a chronic
inflammatory pathway [65].

4) Used externally, talc reaches the lower genital tract, may be phagocytized by
inflammatory cells, and trapped in pelvic lymph nodes where it may further
dysreguiate local immune processing

5) Talc likely reaches higher into the upper genital tract further disrupting mucin
immunity in the tubai epithe|ium and possibly transforming tubai or ovarian
epitheiium.

6) A stronger dose-response with talc in pre-menopausal women is compatible with
the observation that impaired MUC1 immunity may affect susceptibility to ovarian
cancer such that it occurs at a younger age. in turn, this may blunt the dose-
response in older postmenopausai Women because those most susceptible to
the effects have left the at-risk pooi.

7) Talc is carcinogenic, if only, by its ability to induce inflammation down regulate
immunity, and enhance ovarian tumor development.

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Agency Opinions

The National Toxicology Program (NTP) nominates agents for consideration of
carcinogenicity in their Report on Carcinogens (RoC) on the basis of recommendation
from internal review panels An external review panel is then formed in which testimony
for or against the nomination is presented including that by industries that may be
affected internal reviews nominated talc be considered for carcinogenicity in both its
2000 and 2004 reports Talc was considered in the 10“‘ ROC in 2000, and the external
panel voted 3 for and 7 against declaring talc a carcinogen NTP decided to reconsider
the issue again for its 12"‘ report in 2004 since apparently part of the issue for the 101h
report was which form of talc should have been considered in 2004, the issue mostly
addressed cosmetic talc and ovarian cancer. The vote Was 2 for and 8 against declaring
talc carcinogenic in this setting. Sometime in late 2004 or early 2005, l was asked by a
consulting group affiliated with NTP to provide an opinion about talc and ovarian cancer
for a new RoC meeting being planned to resolve the talc issue. l received some
materials related to the 2004 meeting, including the Rothman and Shapiro reports from
2000 and letters from the Cosmetic, Toiietry, and Fragrance Association and CRE
(Center for Regulatory Effectiveness) to Dr. Jameson critical of NTP for its handling of
talc in their nomination process A|though l expressed my willingness to provide an
opinion l learned after several months had passed that NTP had withdrawn their
nomination for talc as a carcinogen

The international Agency for Research on Cancer (lARC) has also considered the
carcinogenicity of taic_most recently in 2005. industry generally has less involvement
iri the lARC meetings ln 2005, lARC voted iri favor of declaring cosmetic talc a group
23 agent, “possibly carcinogen to human beings.” [66]. Neither NTP nor lARC had the
opportunity to consider my recent observations about talc, iVlUCt immunity, and lymph
nodes and obviously were not aware of the differences'in dose-response between pre-
and postmenopausai women

The Role of Talc in the case of lllis. Deane Berg

in 1212006 at the age of 49, when she was still premenopausal, l\/ls. Deane Berg was
diagnosed with high-grade invasive serous cancer of the ovaries (Attachment 5). This is
the most common type of invasive ovarian cancer occurring in about 42% of women
diagnosed with ovarian cancer. Less common Ms. Berg falls into the approximate 25%
of women who develop this type Of tumor premenopausaily. A familial or genetic
tendency is often considered when a woman develops breast or ovarian cancer under
age 50, such as a mutation in one of the two predisposing breast and ovarian cancer
(BRCA) genes indeed, about 40% of Jewish women who develop ovarian cancer at a
relatively young age will have one of the three common mutations found in about 2% of '
Jewish women However, Ms. Berg is not Jewish, had no family history of breast or
ovarian cancer or personal history of breast cancer, and tested negative for the full panel
of BRCA1 and BRCAZ mutations in July 2007 (Attachment 6).

in January 2011, we interviewed lVls. Berg by phone and administered the same
questionnaire we used in the most recent phase of our case-control study. lVls. Berg
was specifically asked to include only those exposures which occurred one year prior to
the date of the diagnosis of her cancer. A copy of the completed questionnaire is
included as Attachment 7. in response to our question about the use of talc, iVis. Berg

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indicated that she had used Johnson and Johnson baby powder or Shower to Shower
(another Johnson and Johnson product) on a daily basis between the ages of 16 to 48
(we excluded use in the year prior to diagnosis). This would mean l\/ls. Berg had applied
talc to her genital area more than 11,000 times i do not count here possible exposure
from a diaphragm which she said she had used for about 4 years nor possible exposure
from condoms used for a total of 12 months Ciearly the amount of potential talc
exposure from these sources is minimal compared to her daily use in the genital area.

in reviewingl\/ls. Berg’s questionnaire data, the other major factors l note related to her
risk for ovarian cancer included her lack of birth control pill use and lack of
breastfeeding-both of which would lead to a higher number of ovulations. l\/ls Berg
related that her mother died of a stroke at 38 possibly due to oral contraceptives which
would have been viewed as contraindication for her own use of oral contraceptives She
did not breastfeed because she required anti-seizure medications following head injury
as a teenager. in terms of protective factors, iVis. Berg did have a tubai iigation about 3
years prior to diagnosis Her history of mumps could also have been a favorable risk
factor. Looking at Table 4 below to define her risk for ovarian cancer constructed from
our own case-control data, lVls. Berg falls into the category of more than 8400
applications for premenopausal women with invasive serous ovarian cancer

Table 4. Association between genital talc use and ovarian cancer among non-Jewish serous invasive cases
and controls without a family history of ovarian or early onset breast cancer, stratified by menopausal status

 

 

 

 

 

 

 

 

 

Talc use All subjects Premenopausal Postmenopausal interaction
NCaSeS:SSG NCaSeS=173 Ncases:513 p
Ncontrols=1839 Noontro|s=769 Noonlro|s:107o
on (95% ci)1 P oR (95% ci)1 p oR (95% ci)‘ p
Never 1.00 1.00 1.00 _ .0.66
Ever 1.39 (1.14, 1.69) 0.001 1.36 (0.91, 2.03) 0.13 1.35 (1.07, 1.70) 0.01
Applications
Never 1.00 1.00 1.00 0.0006
<360 1.20 (0.82, 1.75) 0.36 0.34 (0.12, 0.91) 0.03 1.68 (1.08, 2.62) 0102
360-1967 1.09 (0.76, 1.56) 0.64 1408 (0.52, 2.22) 0.84 1.02 (0.67, 1.56) 0.92
1968-8399 1.53 (1.10, 2.14) 0.01 2.12 (1.16, 3.89) 0.01 1.35 (0.90, 2.02) 0.15
28400 1.65 _(1.19, 2.30) 0.003 3.53 (1.63, 7.65) 0.001 1.34 (0.93, 1.94) 0.11
p-trend2 0.001 0.0001 0.12 0.0008
strand3 0.18 0.001 0.87

 

1Adjusted for study phase and center, reference age, parity, OC use, tubai ligation, BlV|l, smoking history,
and alcohol use.

2Trend p-value includes never users

3Trend p-va|ue excludes never users.

who did not have a family history of breast or ovarian cancer. The risk for women with
these characteristics is 3.53. The trend is signihcant whether non-use is considered the
referent or whether the dose-response is restricted to users

in tort litigation an “etiologic fraction (EF)” is calculated from relative risks (RR) or odd
ratios according to the formuia: EF = (RR -1)/RR [42]. An EF greater than 50% is
considered to satisfy the “preponderance rule” to show the exposure was more likely
than not to have caused the disease. in the case of Ms. Berg, the etiologic fraction is
72%; i.e. [(3.53-1)/3.53].

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Conc|usion

in this report, l have reviewed the epidemiologic evidence supporting an association
between cosmetic talc use in the genital area and risk for ovarian cancer. l have sought
to show how the talc association with ovarian cancer meets major criteria for a causal
association including: statistical significance cause precedes effect, consistency,
absence of bias and confounding, strength of the association, dose-response, and
biologic credibility. The overall estimate of the association from meta-analyses is
stronger and more significant than genetic associations from Genome V\hde Association
Studies, accepted by the scientific community as real. importantly, l have shown that
the strength of the association and the dose-response have been under-estimated by
the failure to take histologic type of ovarian cancer, menopausal status and family
history into consideration Premenopausal women with invasive serous cancer and no
family history have a strong and highly significant dose-response with number of talc
applications in terms of biologic credibility, at least two models can explain why talc
use might cause ovarian cancer including its properties as an inflammatory agent with
effects on the immune system. Based upon my review of this evidence, it is my opinion
to a reasonable degree of epidemiologic certainty that there is a causal association
between the use of talc and ovarian cancer. in l\/ls. Berg’s specific case, it is my opinion
to a reasonable degree of medical and epidemiologic certainty that chronic talc use was
the major cause of her invasive serous ovarian cancer that occurred at age 49.

lt has been about 40 years since talc producers the cosmetics industry, in general, and
Johnson and Johnson in particular, have been aware of a possible connection between
cosmetic talc use and ovarian cancer. Had a warning label been placed on talc products
in 1982 discouraging use in the genital area, Ms. Berg might have stopped her talc use
and avoided more than 20 years of exposure. Sadly, that did not happen-the
consequence of which, in my opinion is the invasive serous ovarian cancer that she
developed

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Daniel W. Cramer, MD, ScD Date

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Attachments
1. Details of Epidemiologic studies
2. Critique of the talc association by Rothman Pastides, and Samet

3. investigation of the effect of histologic type, menopausal status and family history of
ovarian or breast cancer on the talc association

4. Poster from AACR
5. Path Report from primary surgery original iri l\lls. Berg
6. Report of BRCA1/2 testing in |\lls. Berg

7. Ovarian Cancer Questionnaire with lVls, Berg’s responses

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Attachment 4

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